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                                              IN THE
                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                   NORTHERN DISTRICT OF INDIANA
                                        LAFAYETTE DIVISION

JANE DOE,                                    )
                                             )
       Plaintiff,                            )
                                             )
                      v.                     )                           Cause No.
                                             )
PURDUE UNIVERSITY and ALYSA ROLLOCK )
and KATIE SERMERSHEIM, in their official and )
individual capacities                        )
                                             )
       Defendants.                           )

                                 COMPLAINT WITH JURY DEMAND

         Plaintiff, Jane Doe, by counsel, hereby files her Complaint for damages and injunctive

relief and states as follows:

I.       INTRODUCTION

         1.       Plaintiff was a Purdue student who was sexually assaulted by a male student at

Purdue. Plaintiff sought medical treatment due to the assault but did not report it to Purdue

immediately. Plaintiff suffered from Post-Traumatic Stress Disorder because of her sexual

assault and was dropped from school for inadequate grades. In explaining her performance to

Purdue officials as she sought reinstatement, she disclosed her sexual assault and her interactions

with the Purdue University Counseling and Psychological Services (CAPS).1

         2.        Due to these disclosures she was referred to Purdue’s Office of Institutional

Equity, where she was asked to make an official report of her sexual assault to the University.



1
  Plaintiff seeks to proceed pseudonymously to preserve her privacy. This case concerns sexual assault and public
identification of the Plaintiff poses a high risk of mental harm. There is no risk of prejudice to the Defendant from
the use of a pseudonym because Defendant and its counsel will be fully aware of the identity of the Plaintiff.

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           3.    The Defendants implemented a policy, either written or unwritten, wherein

women who cannot prove their claims to the satisfaction of Purdue decisionmakers face

discipline up to expulsion at Purdue.

           4.    The Defendants applied that policy to the Plaintiff’s case and expelled her. The

expulsion was later reduced to a suspension.

           5.    No reasonable factfinder could concur with Defendants that Jane Doe made her

report maliciously. Instead, substantial facts supported her claims.

           6.    Purdue’s conduct violated Title IX: its investigation was slipshod and failed to

discover basic relevant facts; the investigators made discriminatory assumptions about Plaintiff’s

behavior; and the University departed from basic norms of fairness and due process.

           7.    Defendants treated the Plaintiff as if she were the accused harasser and punished

her for making protected Title IX complaints.

II.        PARTIES

           8.    Plaintiff Jane Doe is currently twenty-two years old and a female United States

citizen.

           9.    Doe began her second semester of her sophomore year at Purdue University in

January 2017.

           10.   Defendant Purdue University is a public institution of higher education located in

West Lafayette, Indiana and is a recipient of federal funding.

           11.   Defendant Alysa Rollock is the Vice-President for Ethics and Compliance at

Purdue University.

           12.   Defendant Katie Sermersheim is the Associate Provost and the Dean of Students

at Purdue University.



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III.   JURISDICTION AND VENUE

       13.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331.

       14.     Venue is proper under 27 U.S.C. § 1391(b)(1) and (2) as all acts complained of

herein occurred in Tippecanoe County, Indiana.

IV.    FACTUAL ALLEGATIONS SUPPORTING JANE DOE’S CLAIM

       15.     On January 28, 2017, Doe became intoxicated at a party and was incapacitated.

Doe left the party with friends who, believing she was too intoxicated to care for herself, left her

at the apartment of a Male Student with whom she was acquainted. She awoke to find the Male

Student on top of her, touching her sexually. She did not consent to the contact, was too

intoxicated to consent, and the Male Student ignored her attempts to repel him.

       16.     When Doe awoke the next morning in Male Student’s bedroom, her genitals were

sore, and she found her bra had been removed.

       17.     Shortly thereafter Doe revealed the assault to her mother and to some friends.

       18.     Doe did not report the assault to Defendants at that time.

       19.     Doe recognized she was suffering mental illness because of her assault. She was

in fact suffering from depression and anxiety associated with post-traumatic stress.

       20.     On February 6, 2017, Doe sought medical treatment from Purdue University

Counseling and Psychological Services. On intake forms and in an intake interview she disclosed

a recent history of sexual violence.

       21.     On February 13, 2017, she disclosed the sexual assault in a CAPS counseling

session.

       22.     Doe’s Post-Traumatic Stress Disorder caused her to become overwhelmed easily.

She attended no further counseling sessions because reliving her traumatic experience was



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unbearable, and she stopped attending classes because she was had difficulty performing

cognitive tasks.

       23.     In May 2017, Doe was dropped from Purdue University because her grades were

inadequate. This spurred her to combat her mental illness, at which point she was diagnosed with

Post-Traumatic Stress Disorder.

       24.     Doe explained to her academic advisor that her grades had suffered due to anxiety

and depression resulting from a sexual assault and asked what steps she needed to take in order

to be reinstated. Her counselor referred her to the Office of Institutional Equity in connection

with her sexual assault.

       25.     At the Office of Institutional Equity, Title IX Specialist Karen Meyers directed

Doe to fill out paperwork to officially report her sexual assault to the University. In that

paperwork Doe described the circumstances of her assault as well as her interactions with CAPS.

       26.     Two investigators from the Office of Institutional Equity then commenced an

investigation into her assault.

       27.     The investigators reported to Dean Sermersheim and Vice-President Rollock.

       28.     Defendants’ investigation relied in large measure on Doe’s impaired recollection

of the circumstances leading up to her sexual assault. Because she had to rely on friends’

recollections of what had transpired before she was sexually assaulted, Defendants found Doe to

be an unreliable witness. Defendants disregarded the fact that Doe clearly and consistently

recalled the circumstances of the sexual assault itself.

       29.     Defendants’ investigation also relied largely on the fact that Doe, due to being

overwhelmed by anxiety and depression in the months after the assault, was unable to recall




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certain events. Doe initially attested to having no further contact with Male Student after January

28, 2017 when in fact she had.

        30.     Defendants failed to provide Doe with notice that she was being treated as a target

of its investigation.

        31.     On August 15, 2017, Dean Katie Sermersheim issued a finding alleging that Doe

falsely reported her assault in a bad faith attempt to be reinstated, found that she made false

statements to investigators, and found that she had consented to sexual contact with Male

Student despite her incapacitation. Dean Sermersheim referred Doe to the Purdue Office of

Student Rights and Responsibilities “to assess whether you engaged in conduct for which you

may be subject to discipline….”

        32.     In making her finding that Doe made a report of sexual assault in bad faith,

Defendant Sermersheim construed Doe’s queries to academic officials whether she needed to

report her sexual assault in order to be reinstated and whether she could be penalized for filing it

as proof of a scheme to be reinstated at Male Student’s expense. This is both a discriminatory

assumption taking her inquiries out of context and a violation of procedural safeguards meant to

shield Title IX complainants from retaliation.

        33.     On September 1, 2017, Defendant Vice-President Rollock instructed Defendant

Sermersheim to amend the findings of the investigation to incorporate an allegation that on the

night Doe alleged that she had been assaulted, Doe had harassed another student by groping him.

Defendant Sermersheim proceeded against Doe on this allegation.

        34.     Upon its adoption of its “Amended Final Findings” of September 29, 2017, the

University expelled Doe.




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       35.      After Doe appealed her expulsion, Defendant Rollock reversed the finding that

she had filed her complaint in bad faith but upheld the findings of false statements and consent to

sexual contact. On this basis, Defendant Rollock converted Doe’s expulsion into a suspension.

       36.      Following her suspension, Doe was informed on December 19, 2017 that

investigators had substantiated the harassment claims against her referenced in Rollock’s

September 1, 2017, letter, and that, as a result, upon returning from suspension she would be

placed on academic probation.

V.     COUNT I: VIOLATION OF TITLE IX – DEFENDANT PURDUE UNIVERSITY

       37.      Plaintiff incorporates all above paragraphs by reference.

       38.      Jane Doe was denied her federally guaranteed equal access to educational

opportunities by the manner in which Purdue University mishandled her complaint of assault.

       39.      Purdue University’s conduct violated Title IX of the Education Amendments of

1972, 20 U.S.C. § 1981, et. seq.

       40.      The violation of Title IX damaged Doe.

VI.    COUNT II:       TITLE IX RETALIATION – DEFENDANT PURDUE UNIVERSITY

       41.      Plaintiff incorporates all above paragraphs by reference.

       42.      Jane Doe was disciplined because she complained that she was assaulted by a

Male Student.

       43.      Purdue University’s decision to suspend her was unlawful retaliation in violation

of Title IX of the Education Amendments of 1972.

VII. COUNT III: 42 U.S.C. § 1983: DEPRIVATION OF CIVIL RIGHTS UNDER
STATE LAW – DEFENDANTS ROLLOCK AND SERMERSHEIM IN THEIR
OFFICIAL CAPACITIES

       44.      Plaintiff incorporates all above paragraphs by reference.



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       45.     Katie Sermersheim, and Alysa Rollock acted under color of state law with regards

to Jane Doe.

       46.     Defendants Sermersheim and Rollock’s decision to discipline Jane Doe violated

her constitutionally guaranteed right to Equal Protection of the Laws and Due Process of Law.

VIII. COUNT IV: 42 U.S.C. § 1983: INDIVIDUAL LIABILITY – KATIE
SERMERSHEIM

       47.     Plaintiff incorporates all above paragraphs by reference.

       48.     Katie Sermersheim knowingly or recklessly implemented and managed a sexual

assault complaint process that deprived Jane Doe of her constitutional rights to due process and

equal protection of the law.

IX.    COUNT V: 42 U.S.C. § 1983: INDIVIDUAL LIABILITY – ALYSA ROLLOCK

       49.     Plaintiff incorporates all above paragraphs by reference.

       50.     Alysa Rollock knowingly or recklessly implemented and managed a sexual

assault complaint process that deprived Jane Doe of her constitutional rights to due process and

equal protection of the law.

X.     REQUEST FOR RELIEF

       Wherefore, Plaintiff Jane Doe requests judgment in her favor and against the Defendant,

ordering injunctive relief of reinstatement to good standing with Purdue University with all

attendant benefits and other make whole relief including lost tuition and expenses, and removal

of the discipline from her record, together with an award of compensatory damages, punitive

damages, court costs and expenses, including attorney’s fees, pre-judgment and post-judgment

interest and such other relief as this Court deems appropriate.




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                                                      Respectfully submitted,

                                                      MACEY SWANSON LLP

                                                              /s/ Jeffrey A. Macey
                                                      Jeffrey A. Macey, Atty No. 28378-49
                                                      Attorney for Plaintiff


                                        JURY DEMAND
       Plaintiffs, by counsel, demand that this cause be tried to a jury on all issues so triable.



                                                      Respectfully submitted,

                                                      MACEY SWANSON LLP


                                                              /s/ Jeffrey A. Macey
                                                      Jeffrey A. Macey, Atty No. 28378-49
                                                      Attorney for Plaintiff

MACEY SWANSON LLP
445 North Pennsylvania Street, Suite 401
Indianapolis, IN 46204-1800
Telephone: (317)637-2345
Facsimile: (317)637-2369
E-Mail: jmacey@maceylaw.com




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